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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DIETRICT OF ILLINOIS, EASTERN DIVISION

JUDGE ZAG§L

PAUL sTEELE, § 06(-/ 0 0 2 7

Plaintiff,

 

No.

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v. MAclsTeATe loose \MAsoN _

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UNIGN PACIFIC RAILROAD COMPANY,
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NOW COMES the above-named Plalntiff, PAUL STEELE, by and

Defendant.

COMPLAINT AT LAW

through his attorneys, George T. Erugess and HOEY a EARINA,
P.C., as and for a cause of action against the above named
Defendant shows and alleges as follows:

l. That at all pertinent times, the DefendantIr UNIDN
PACIFIC RAILROAD COMPANY, was and is a railroad corporation
authorized. to do business and. doing business in the State of
lllinois, County of Cook.

2. This action arises under, and the rights and
liabilities of the parties to this cause are governed Zby the
Federal Employer’s Liability Act,r 45 U.S.C. § 51 et seq.

3. At al pertinent times, Defendant operated a railroad
system as a common carrier freight in and through the various

states.

 

 

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4. At all pertinent times, Defendant owned, managed, and
maintained and used. as part of its railroad systenl a certain
railroad yard called Proviso Yard.

5. Gn and before March 22, 2004, PAUL STEELE was an
employee of the Defendant.

E. On March 22, 2004, PAUL STEELE was on duty and acting
in the course of his employment by Defendant.

7. At all pertinent times, PAUL STEELE, was performing
work for the Defendant in connection with or in furtherance of
Defendant's business of interstate commerce and transportation.

B. ln the course of his duties at that time and place
PAUL STEELE was required to operate a motor vehicle to collect
blue flag lights.

9. As PAUL STEELE was removing the blue flag lights from
the motor vehicle his ankle and foot were seriously injured.

lU. lt was the continuing duty of Defendant, as employer,
at the time and place in guestion, to use ordinary care in
furnishing PAUL STEELE with a safe place to werk.

11. ln violation of its duty, Defendant negligently and
carelessly failed to provide PAUL STEELE with a safe place to
work by committing the following negligent acts or omissions:

a. failed to provide sufficient manpower to perform
assigned tasks;

b. failed to properly illuminate the yard;

 

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c. failed to provide a safe and level ground
surface;
d. failed to provide sufficient motor' vehicles to

perform the work assigned;

e. failed to enact and enforce rules regarding
vehicles use;

f. required employees to use their personal vehicle
to perform company tasks;

g. violated certain agreements regarding requiring
employees to use their personal vehicles;

h. failed to train employees on the use of vehicles
in violation of OSHA regulations;

i. violated OSHA and FRA regulations;
j. violated industry standards; and
k. was otherwise careless and negligent.

12. Defendant's failure to provide PAUL STEELE with a safe
place to work by one or more of the foregoing negligent acts or
omissions caused, in whole or in part,r PAUL STEELE to be
injured.

13. Defendant's violation of safety regulations
constitutes absolute negligence without any contributory
negligence on Plaintiff.

14. As a direct and proximate result of the Defendant's
foregoing acts and omissions of negligence, Plaintiff was
seriously injured, has experienced pain and suffered in the past
and will experience pain and will suffer in the future, has lost

wages in the past, will lose wages in the future and her future

 

 

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earning capacity has been impaired, has suffered loss of a
normal life, is disabled,r has incurred medical expenses and will
incur medical expenses in the future, and is permanently
disfigured.

WHEREFGRE, the Plaintiff, PAUL STEELE, respectfully demands
judgment against the above named Defendant in an amount
sufficient to constitute fair and reasonable compensation for
the injuries and damages which Plaintiff sustained and that he

has here taxable costs and disbursements in said action

Respectfully submitted,

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George T. Brugess
Attorney for Plaintiff

 

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